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                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


  IN RE: FACEBOOK, INC. CONSUMER                    Case No. 18-md-02843-VC
  PRIVACY USER PROFILE
  LITIGATION,                                       ORDER RE PRELIMINARY
                                                    APPROVAL HEARING
  This document relates to:                         Re: Dkt. No. 1096
                 ALL ACTIONS



       At the hearing on the motion for preliminary approval, the plaintiffs should be prepared

to discuss the following.

       •   Perhaps this is not a case where injunctive relief is needed for the settlement to be fair

           and reasonable, but the parties should do a better job explaining why. In particular,

           the plaintiffs’ motion does a good job of identifying and explaining the things

           Facebook is no longer doing, but it is unclear how much of this is the result of
           restrictions imposed by the FTC Consent Order (or by some other government entity)

           as opposed to voluntary cessation of conduct by Facebook. The parties should be

           prepared to give a presentation about this at the hearing. And to the extent the FTC

           Consent Order does not restrict Facebook from resuming activities described in the

           motion (in particular, friend sharing), the parties should explain why Facebook should

           be trusted to continue refraining from those activities.

       •   Should the settlement website include an opt out form? See Jabbari, et al. v. Wells

           Fargo & Company, Case No. 15-2159, Dkt. No. 162-11. If so, the form should
           clearly state that opt outs are only valid if the class member verifies the request to opt
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           out using the link sent to them. See Dkt. No. 1096-2 at 27. This should also be made

           clear on the settlement website.

       •   Should the settlement website include an objection form? See Jabbari, Dkt. No. 162-

           12.

       •   Why must objections “state whether the objector has sold or otherwise transferred the

           right to their recovery in this Action to another person or entity, and, if so, the identity

           of that person or entity?”

       •   The Court’s standing order says, “Absent extraordinary circumstances, the Court will

           not enjoin current or future litigation in other courts based on conduct covered by the

           release. Whether to stay or dismiss any such cases will be for the assigned judge to

           decide.” The proposed order granting final approval says that settlement class

           representatives and class members are “permanently barred” from asserting any

           released claims. Do the parties intend for that language to constitute an injunction?

           What is the value of having an injunction in the Court’s order?

       The plaintiffs should also be prepared to make the following changes to the materials

related to preliminary approval.

       •   The proposed notice should more clearly state that class members can opt out online

           or by mail, and it should include a link to the relevant section of the settlement
           website.

       •   The proposed notice and proposed order should more clearly state that objectors may

           appear at the Fairness Hearing without submitting a written objection upon a showing

           of good cause.

       •   The “Reminder Checklist” on the Claim Form suggests that the Claim Form must be

           mailed in. The plaintiffs should clarify the Checklist to say that the Claim Form can

           also be submitted online.

       •   The “Payment Selection” heading on the Claim Form is vague, and possibly suggests
           that class members will need to make some kind of payment. That section should be


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           renamed to something like, “Method for Receiving Payment.”

       •   The Fairness Hearing will be held over Zoom, not in-person. The proposed notice

           should be revised to reflect that.

       IT IS SO ORDERED.

Dated: February 28, 2023
                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge




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